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  16
                              SOUTHERN DISTRICT OF CALIFORNIA
  17
       Al Otro Lado, Inc., et al.,                            Case No. 3:17-cv-02366-BAS-KSC
  18
                            Plaintiffs,                       PLAINTIFFS’ SUPPLEMENTAL
  19                                                          BRIEF REGARDING GARLAND
                 v.                                           V. ALEMAN GONZALEZ
  20
       Alejandro Mayorkas,1 et al.,
  21
                            Defendants.
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  28       Secretary Mayorkas is automatically substituted pursuant to Fed. R. Civ. P. 25(d).



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   1         The Supreme Court’s decision in Garland v. Aleman Gonzalez, 596 U.S. __,
   2   2022 WL 2111346 (June 13, 2022), does not affect this Court’s holding that
   3   Defendants’ turnbacks of asylum seekers at POEs unlawfully deprived Plaintiffs of
   4   access to the U.S. asylum process and only minimally impacts the remedies available
   5   to address that conduct. Aleman Gonzalez leaves intact this Court’s authority to order
   6   Defendants to comply with 8 U.S.C. § 1158(a)(1) on a class-wide basis and to end
   7   turnbacks, which are arbitrary and capricious and not statutorily authorized.
   8         In holding turnbacks of asylum seekers at ports of entry unlawful, this Court
   9   found that Defendants had violated both 8 U.S.C. § 1158(a)(1) and 8 U.S.C. § 1225.
  10   Dkt. 742 at 33-34. In accordance with then-prevailing Ninth Circuit law on
  11   § 1252(f)(1), see, e.g., Rodriguez v. Hayes, 591 F.3d 1105, 1120 (9th Cir. 2010), this
  12   Court understandably saw no need to parse the relief available under each of these
  13   two distinct statutory provisions and instead analyzed their collective effect. See, e.g.,
  14   Dkt. 742 at 8, n. 7 (“The Court refers to the asylum provision in 1158(a)(1) and the
  15   specific actions listed in 1225(a)(1)(3) and 1225(b)(1)(A)(i)-(ii) as the ‘inspection
  16   and referral duties.’”); id. at 25 (“duties to inspect and refer contained in 1158(a)(1)
  17   and 1225 are mandatory ministerial duties under 706(1)”). However, the Supreme
  18   Court’s decision in Aleman Gonzalez, which precludes class-wide injunctive relief
  19   mandating compliance with § 1225 but not § 1158, requires a more nuanced analysis
  20   of the scope of relief available pursuant to each of these provisions.
  21         The Court had no need at the time to consider the relief to which Plaintiffs are
  22   entitled under the APA based solely on Defendants’ violations of § 1158 or failures
  23   to comply with a mandatory duty stemming from § 1158. But these claims are
  24   obviously encompassed by the operative complaint, as are Plaintiffs’ claims that no
  25   statute authorizes turnbacks and that turnbacks, and the Turnback Policy, are
  26   arbitrary and capricious. See Dkt. 189, ¶¶ 3, 76-80, 84-118, 204, 205, 207, 220, 222-
  27   224, 245, 270-82; Dkt. 210 at 20-21 n.20. Aleman Gonzalez does not affect relief
  28   available to remedy these violations, given that § 1158 is not a provision covered by
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   1   § 1252(f)(1) and the government argues that its authority to turn back asylum seekers
   2   flows from provisions not covered by § 1252(f)(1). See § 1252(f)(1) (covering only
   3   “part IV of this subchapter,” or 8 U.S.C. §§ 1221-1231); Dkt. 192-1 at 12-14
   4   (government asserting turnbacks occur pursuant to 6 U.S.C. § 202 and 8 U.S.C. §
   5   1103); Aleman Gonzalez, 2022 WL 2111346, at *7 n.4. Thus, Aleman Gonzalez
   6   leaves untouched the Court’s power to order that the government comply with
   7   § 1158(a)(1)’s mandate that “[a]ny [noncitizen] who is physically present in the
   8   United States or arrives in the United States . . . may apply for asylum,” without
   9   regard to whether the government is specifically complying with the process set out
  10   in § 1225(b). Aleman Gonzalez also leaves untouched the Court’s power to put a stop
  11   to turnbacks because they are arbitrary and capricious and not statutorily authorized.
  12          Specifically, the Court retains authority to issue a variety of relief to remedy
  13   the violations of § 1158 and the APA and the ultra vires nature of turnbacks, including
  14   (a) declaratory relief; (b) relief under the APA (such as ordering compliance with
  15   mandatory duties in § 11582 under 5 U.S.C. § 706(1), Dkt. 742 at 25, or holding
  16   unlawful and setting aside the Turnback Policy or any portion of it under 5 U.S.C.
  17   § 706(2)—a claim the Court has not yet reached); and (c) a traditional equitable
  18   injunction compelling the government to conform its conduct with § 1158, cease
  19   conduct that is in violation of § 1158, or otherwise cease ultra vires action.3
  20
       2
         As the Court has previously noted, 6 U.S.C. § 211(g)(3)(B)—which is not covered by §
  21   1252(f)(1)—also imposes an inspection duty on CBP at ports of entry. Dkt. 742 at 21.
  22   3
         This Court previously rejected Plaintiffs’ claim that the Court retains traditional equitable power
  23   to enjoin ultra vires agency action. Doc. 742 at 13; see Cal. v. Trump, 379 F. Supp. 3d 928, 942-43
       (N.D. Cal. 2019) (noting the “presumptive availability of equitable relief to enforce federal law”
  24   and that “ultra vires review exists outside of the APA framework”). The Court’s decision turned
       on the notion, which is incorrect as a matter of law, that if § 702 waives sovereign immunity, the
  25   only claim available is an APA claim. Compare Dkt. 742 at 13, with Navajo Nation v. Dep’t of
  26   Interior, 876 F.3d 1144, 1171 (9th Cir. 2017) (holding that § 702 broadly waives sovereign
       immunity for all non-monetary claims, not just APA claims). The Court’s prior decision flowed
  27   from a misreading of E.V. v. Robinson, 906 F.3d 1082 (9th Cir. 2018), which is not on-point and
       addressed only whether the pre-§ 702 judicial framework for determining whether a suit was barred
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   1          Furthermore, if relief to enjoin ultra vires action, arbitrary and capricious
   2   action, or § 1158 violations has any effect on the “operation” of § 1225, it is a
   3   permissible “collateral effect.” Aleman Gonzalez, 2022 WL 2111346, at *7 n.4. The
   4   majority in Aleman Gonzalez rejected the argument that §1252(f)(1) bars injunction
   5   of “the unlawful operation of a provision that is not specified in §1252(f)(1) even if
   6   that injunction has some collateral effect on the operation of a covered provision,” as
   7   in Gonzales v. DHS, 508 F.3d 1227, 1233 (9th Cir. 2007). 2022 WL 2111346, at *7
   8   n.4 (noting that Gonzales, 508 F.3d at 1233, stands for an “unresponsive proposition”
   9   relative to the case before the Court). In Gonzales, which Aleman Gonzalez leaves
  10   untouched, the Ninth Circuit found §1252(f)(1) inapplicable where an injunction
  11   “directly implicate[d]” a provision of the INA not covered by §1252(f)(1),
  12   notwithstanding that a covered provision could be affected as a “collateral
  13   consequence.” Gonzales, 508 F.3d at 1233.
  14          In addition to the full gamut of remedies available to address the government’s
  15   ultra vires action and violations of § 1158 and due process, Aleman Gonzalez also
  16   specifically leaves intact the Court’s power to issue some relief pursuant to § 1225,
  17   including APA vacatur and declaratory relief. Aleman Gonzalez, 2022 WL 2111346,
  18   at *5 n.3; id. at *16 & n.9 (Sotomayor, J., concurring).
  19
       by sovereign immunity remained intact with regard to claims against a person who is not an “agency
  20   or officer or employee thereof.” See § 702 (waiving sovereign immunity from claims for
  21   nonmonetary relief regarding the actions of an “agency or officer or employee thereof”). Robinson
       ensured § 702 did not perversely expand sovereign immunity; it contains no holding displacing
  22   courts’ traditional equitable powers. Indeed, the Robinson decision acknowledged that “[t]he scope
       of the [§] 702 waiver is expansive—indeed, the waiver applies even when there is not ‘final agency
  23   action’ under APA [§] 704.” Robinson, 906 F.3d at 1094.
               Accordingly, Plaintiffs respectfully request reconsideration of this erroneous decision
  24   regarding the availability of traditional equitable relief, which provides an additional basis to
  25   support Plaintiffs’ claims that turnbacks and the Turnback Policy are ultra vires and violate § 1158
       and the Due Process Clause. Reconsideration is particularly appropriate, in light of Justice
  26   Sotomayor’s acknowledgement of this residual equitable power in Aleman Gonzalez. See 2022 WL
       2111346, at *9, *11, *16 (Sotomayor, J.) (explaining the majority opinion results in displacement
  27   of courts’ traditional equitable authority to require agency compliance with the provisions covered
       by § 1252(f)(1), implying this traditional authority otherwise remains intact).
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   1                             CERTIFICATE OF SERVICE
   2         I certify that on June 29, 2022, I served a copy of the foregoing document by
   3   filing it with the Clerk of Court through the CM/ECF system, which will provide
   4   electronic notice and an electronic link to this document to all attorneys of record.
   5
                                                  By /s/ Stephen M. Medlock
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